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 6                           IN THE UNITED STATES DISTRICT COURT

 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     THE UNITED STATES OF AMERICA,                 ) No. CR-17-232 GEB
 9                   Plaintiff,                    )
                                                   ) ORDER
10          v.                                     )
                                                   )
11
     MAY LEVY,                                     )
12
                     Defendant.                    ) Judge: Hon. Kendall J. Newman
     ================================)
13
            IT IS HEREBY ORDERED that the pre-trial release conditions for defendant May Levy are
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     modified in the following manner:
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            “1.       You must participate in a program of medical or psychiatric treatment,
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     including treatment for drug or alcohol dependency, as approved by the pretrial services
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     officer. You must pay all or part of the costs of the counseling services based upon your
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     ability to pay, as determined by the pretrial services officer.”
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            All other conditions of release remain in full force and effect.
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21   Dated: February 7, 2018
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